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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 06-cr-134-01/02-SM

Ellsworth Gottlieb and
Raymond Jackson

                                    ORDER

      Defendant Jackson’s motion to continue the final pretrial conference and

trial is granted (document 19). Trial has been rescheduled for the December

2006 trial period. Defendant Jackson shall file a waiver of speedy trial rights

not later than August 30, 2006. On the filing of such waiver, his continuance

shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: November 27, 2006 at 3:00 p.m.

      Jury Selection: December 5, 2006 at 9:30 a.m.
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      SO ORDERED.



                                     ____________________________
                                       Steven J. McAuliffe
                                       Chief Judge

August 23, 2006

cc:   Paul Garrity, Esq.
      Patrick E. Donovan, Esq.
      Mark Howard, AUSA
      US Probation
      US Marshal




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